Case 1:16-cv-00347-JMS-RLP Document 221 Filed 01/08/18 Page 1 of 5    PageID #:
                                   1786


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Attorneys for Defendants
ABNER GAURINO, AURORA GAURINO
and ABIGAIL GAURINO

               IN THE UNITED STATES DISTRICT COURT

                    FOR THE DISTRICT OF HAWAI‘I

ATOOI ALOHA, LLC, an[sic] Nevada )         Civil No. 16-00347 JMS - RLP
Limited Liability Company, CRAIG B. )
STANLEY, as TRUSTEE for THE         )      DEFENDANTS ABNER
EDMON KELLER AND CLEAVETTE )               GAURINO, AURORA
MAE STANLEY FAMILY TRUST;           )      GAURINO AND ABIGAIL
CRAIG B. STANLEY, individually;     )      GAURINO’S STATEMENT OF
MILLICENT ANDRADE, individually, )         QUALIFIED NO OPPOSITION
                                    )      TO DEFENDANT CRISTETA C.
                   Plaintiffs,      )      OWAN’S MOTION FOR
                                    )      SUMMARY JUDGMENT [202]
            vs.                     )      FILED 12/18/17
                                    )
ABNER GAURINO, AURORA               )      Hearing: January 22, 2018.
GAURINO, ABIGAIL GAURINO,           )      Time: 9:00 am
INVESTORS FUNDING                   )      Chief Judge: Michael J. Seabright
CORPORATION, as Trustee for an      )      (caption continued on next page)
Case 1:16-cv-00347-JMS-RLP Document 221 Filed 01/08/18 Page 2 of 5   PageID #:
                                   1787


unrecorded Loan Participation         )
Agreement dated June 30, 2014;        )
APT-320, LLC, a Hawai‘i Limited       )
Liability Company, CRISTETA C.        )
OWAN, an individual; ROMMEL           )
GUZMAN; FIDELITY NATIONAL             )
TITLE & ESCROW OF HAWAI‘I and         )
DOES 1-100 Inclusive,                 )
                                      )
                  Defendants.         )
                                      )
APT-320, LLC, a Hawai‘i Limited       )
Liability Company, Third-Party        )
Plaintiff,                            )
                                      )
        vs.                           )
                                      )
APARTMENT OWNERS OF                   )
DIAMOND HEAD SANDS,                   )
                                      )
        Third-Party Defendant.        )
                                      )




                                     -2-
Case 1:16-cv-00347-JMS-RLP Document 221 Filed 01/08/18 Page 3 of 5        PageID #:
                                   1788


 DEFENDANTS ABNER GAURINO, AURORA GAURINO AND ABIGAIL
   GAURINO’S STATEMENT OF QUALIFIED NO OPPOSITION TO
      DEFENDANT CRISTETA C. OWAN C'S MOTION FOR
          SUMMARY JUDGMENT [202] FILED 12/18/17

      Come now Defendants, Abner Gaurino, Aurora Gaurino and Abigail
Gaurino, by and through their attorneys, John R. Remis, Jr. and Robert D. Eheler,
Jr., and hereby submit their Statement of Qualified No Opposition to Defendant
Cristeta C. Owan’s Motion for Summary Judgment [202] filed 12/18/17.
      The Gaurino Defendants submit there are two factual errors in the instant
motion, to wit: (1) Abner Gaurino is stated to have led the BLGM presentation and
did so by (2) conducting same via Power Point. These allegations are denied.
      DATED: Honolulu, Hawai‘i`, January 8, 2018.




                                              /S/ JOHN R. REMIS, JR.
                                              JOHN R. REMIS, JR.
                                              ROBERT D. EHELER, JR.
                                              Attorneys for Gaurino Defendants




                                        -3-
Case 1:16-cv-00347-JMS-RLP Document 221 Filed 01/08/18 Page 4 of 5   PageID #:
                                   1789


                       CERTIFICATE OF SERVICE

      I HEREBY CERTIFY that a copy of the foregoing Statement of Qualified
No Opposition to Defendant Cristeta C. Owan’s Motion for Summary Judgment
was duly served on the parties below via CM/ECF.
TO:

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ATOOI ALOHA, LLC; CRAIG STANLEY,
as Trustee for The Edmon Keller and
Cleavette Mae Stanley Family Trust;
CRAIG B. STANLEY, Individually;
and MILLICENT ANDRADE, Individually


                                       -4-
Case 1:16-cv-00347-JMS-RLP Document 221 Filed 01/08/18 Page 5 of 5    PageID #:
                                   1790


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APARTMENT OWNERS OF DIAMOND HEAD SANDS

      DATED: Honolulu, Hawai‘i, January 8, 2018.


                                   /s/ John R. Remis, Jr.
                                   JOHN R. REMIS, JR.
                                   ROBERT D. EHELER, JR.
                                   Attorneys for Gaurino Defendants




                                     -5-
